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                               Exhibit 1
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3 Amigos
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Affirmation III
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Baked Ham
Case: 1:24-cv-05604 Document #: 1-1 Filed: 07/03/24 Page 8 of 29 PageID #:25
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Bath Time
Case: 1:24-cv-05604 Document #: 1-1 Filed: 07/03/24 Page 10 of 29 PageID #:27
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Casanova
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 Case: 1:24-cv-05604 Document #: 1-1 Filed: 07/03/24 Page 13 of 29 PageID #:30




Cat on a Throne
Case: 1:24-cv-05604 Document #: 1-1 Filed: 07/03/24 Page 14 of 29 PageID #:31
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Chicken for dinner?
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Dog Gone Funny
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Case: 1:24-cv-05604 Document #: 1-1 Filed: 07/03/24 Page 19 of 29 PageID #:36




Home Improvement
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 Case: 1:24-cv-05604 Document #: 1-1 Filed: 07/03/24 Page 21 of 29 PageID #:38




Late Night Thriller
Case: 1:24-cv-05604 Document #: 1-1 Filed: 07/03/24 Page 22 of 29 PageID #:39
Case: 1:24-cv-05604 Document #: 1-1 Filed: 07/03/24 Page 23 of 29 PageID #:40




Norman Catwell
Case: 1:24-cv-05604 Document #: 1-1 Filed: 07/03/24 Page 24 of 29 PageID #:41
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                                Pooping on People
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 Case: 1:24-cv-05604 Document #: 1-1 Filed: 07/03/24 Page 27 of 29 PageID #:44




Stool Pigeon
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 Case: 1:24-cv-05604 Document #: 1-1 Filed: 07/03/24 Page 29 of 29 PageID #:46




Tuxedo Cat
